                                                                              Case 3:05-cr-00216-WHA            Document 54            Filed 11/29/05                           Page 1 of 1



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                                           No. CR 05-00216 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                                                                         12
                               For the Northern District of California




                                                                                v.                                                                ORDER FOR SUPPLEMENTAL
                                                                         13                                                                       EVIDENCE
                                                                              LEROY E. FRITTS and RODERICK ALYN
                                                                         14   PRESCOTT,

                                                                         15                  Defendants.
                                                                                                                              /
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                                                                         17          By 3 p.m., Thursday, December 1, 2005, all counsel shall SUBMIT sworn declarations

                                                                         18   addressing the nine-factor test in Platt v. Minnesota Mining and Manufacturing Co. See 376

                                                                         19   U.S. 240, 243–44 (1964). Counsel shall name the witnesses and state why they are important to

                                                                         20   the case, but only to the extent that doing so would not harm the interests of the parties. This

                                                                         21   order is in connection with the pending transfer motion.

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                                                                                     IT IS SO ORDERED.
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                                                                              Dated: November 29, 2005                                      ss/
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                                                                         26                                                       UNITED       SR TATES DISTRICT JUDGE

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